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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )          No. 6:18-CR-57-REW-HAI
 v.                                            )
                                               )
 BOBBY HAMILTON,                               )                    ORDER
                                               )
         Defendant.                            )

                                         *** *** *** ***

       Defendant Bobby Hamilton sought to suppress evidence obtained via his Facebook and

Facebook Messenger accounts. DE #222. After full briefing on the motion (see DE ##238 & 243),

and an evidentiary hearing before United States Magistrate Judge Stinnett (see DE #278), Judge

Stinnett (affording thoughtful treatment to the issues) recommended denial of the suppression

effort. DE #289 (R&R). Judge Stinnett found that the Leon good faith exception precludes

evidentiary exclusion, despite the search warrant’s overbreadth. Id. at 10–12. Moreover, he

concluded, authorities independently found the Hamilton-inculpating evidence during a search of

Co-Defendant Collinsworth’s Facebook account—for which Collinsworth provided search

consent, and to which Hamilton (per his own admission) has no privacy right. Id. at 12–13.

       Per DE #289, the parties had fourteen days within which to object to Judge Stinnett’s

recommended disposition. Id. at 13. Neither Hamilton nor the Government has objected. While

this Court reviews de novo those portions of a Report and Recommendation to which a party

objects, see 28 U.S.C. § 636(b)(1), it is not required to “review . . . a magistrate [judge]’s factual

or legal conclusions, under a de novo or any other standard, when neither party objects to those

findings.” Thomas v. Arn, 106 S. Ct. 466, 472 (1985). Where the parties do not object to the

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magistrate judge’s recommended disposition, they waive any right to review. See Fed. R. Crim. P.

59(b); United States v. White, 874 F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge

a specific objection to a particular aspect of a magistrate judge's report and recommendation, we

consider that issue forfeited on appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th

Cir. 2008) (noting that “[t]he law in this Circuit is clear” that a party who fails to object to a

magistrate judge's recommendation forfeits the right to appeal its adoption).

       Accordingly, the Court ADOPTS the Recommended Disposition (DE #289) and DENIES

Hamilton’s suppression motion (DE #222).

       This the 17th day of September, 2019.




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